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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION
                               CASE NO.: 22-CV-80726-DMM


  ARTHUR BARRY SOTLOFF Individually and as the
  Administrator of the Estate of STEVEN JOEL SOTLOFF;
  SHIRLEY GOLDIE PULWER, and LAUREN
  SOTLOFF,
        Plaintiffs,
  v.
  QATAR CHARITY, a Foreign Non-Profit Organization
  and QATAR NATIONAL BANK (Q.P.S.C), a Foreign
  Multinational Commercial Bank
         Defendants.
                                    /
                        MOTION TO APPEAR PRO HAC VICE,
                    CONSENT TO DESIGNATION, AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

         In accordance with Local Rules 4(b) of the Rules Governing the Admission, Practice, Peer
  Review, and Discipline of Attorneys of the United States District Court for the Southern District
  of Florida, the undersigned respectfully moves for the admission pro hac vice of STEVEN
  PERLES, Esquire, of the PERLES LAW FIRM PC, 816 Connecticut Ave. NW, 12th Floor,
  Washington D.C. 20006, Telephone: 202-955-9055, for purposes of appearance as co-counsel on
  behalf of the Plaintiffs in the above-styled case only, and pursuant to Rule 2B of the CM/ECF
  Administrative Procedures, to permit STEVEN PERLES to receive electronic filings in this case,
  and in support thereof states as follows:
         1.      STEVEN PERLES, Esq., is not admitted to practice in the Southern District of
  Florida and is a member in good standing of the District of Columbia Bar & District Court.
         2.      Movant, GEORGE A. MINSKI, Esquire, of THE LAW OFFICES OF GEORGE
  A, MINSKI, P.A., 2500 Hollywood Boulevard, Suite 214, Hollywood, FL 33020, telephone
  number, 305-7932-2200, is a member in good standing of The Florida Bar and the United States
  District Court for the Southern District of Florida and is authorized to file through the Court’s
  electronic filing system. Movant consents to be designated as a member of the Bar of this Court
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  with whom the Court and opposing counsel may readily communicate regarding the conduct of
  the case, upon whom filings shall be served, who shall be required to electronically file and serve
  all documents and things that may be filed and served electronically, and who shall be responsible
  for filing and serving documents in compliance with the CM/ECF Administrative Procedures. See
  Section 2B of the CM/ECF Administrative Procedures.
        3.      In accordance with the local rules of this Court, STEVEN PERLES, has made
 payment of this Court $200.00 admission fee. A certification in accordance with Rule 4(b) is
 attached hereto.
        4.      STEVEN PERLES, by and through designated counsel and pursuant to Section 2B
 CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic
 Filings to STEVEN PERLES at email address: sperles@perleslaw.com
        WHEREFORE, George A. Minski, Esq., moves this Court to enter an Order, providing for
 STEVEN PERLES, to appear before this Court on behalf of the Plaintiffs, ARTHUR BARRY
 SOTLOFF Individually and as the Administrator of the Estate of STEVEN JOEL SOTLOFF.
 SHIRLEY GOLDIE PULWER, and LAUREN SOTLOFF, for all purposes relating to the
 proceedings in the above-styled matter and directing the Clerk to provide notice of electronic filings
 to STEVEN PERLES, Esq.


                                               Respectfully submitted,


                                                By:_/s/George A. Minski, Esq.
                                                George A. Minski, Esq.
                                                FBN. 724726
                                                LAW OFFICES OF GEORGE A. MINSKI, P.A.
                                                Co-Counsel for Plaintiffs
                                                2500 Hollywood Boulevard
                                                Hollywood, FL 33020
                                                Dade: 305-792-2200
                                                Broward: 954-362-4214
                                                Email: gminski@minskilaw.com
                                                Primary email: dgomez@minskilaw.com
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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION
                              CASE NO.: 22-CV-80726-DMM


 ARTHUR BARRY SOTLOFF Individually and as the
 Administrator of the Estate of STEVEN JOEL SOTLOFF;
 SHIRLEY GOLDIE PULWER, and LAUREN
 SOTLOFF,
       Plaintiffs,
 v.
 QATAR CHARITY, a Foreign Non-Profit Organization
 and QATAR NATIONAL BANK (Q.P.S.C), a Foreign
 Multinational Commercial Bank
        Defendants.
                                  /


                            CERTIFICATION OF STEVEN PERLES
        STEVEN PERLES, Esquire, pursuant to Rule 4(b) of the Rules Governing the Admission,
 Practice, Peer Review, and Discipline of Attorneys, hereby certifies that: (1) I have studied the
 Local Rules of the United States District Court for the Southern District of Florida; (2) I am a
 member in good standing of District of Columbia Bar & District Court; and (3) I have not filed
 three or more motions for pro hac vice admission in this District within the last 365 days.


                                                                   /s/Steven Perles, Esq._________
                                                                     STEVEN PERLES, Esq.




                             UNITED STATES DISTRICT COURT
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                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION
                              CASE NO.: 22-CV-80726-DMM


 ARTHUR BARRY SOTLOFF Individually and as the
 Administrator of the Estate of STEVEN JOEL SOTLOFF;
 SHIRLEY GOLDIE PULWER, and LAUREN
 SOTLOFF,
       Plaintiffs,
 v.
 QATAR CHARITY, a Foreign Non-Profit Organization
 and QATAR NATIONAL BANK (Q.P.S.C), a Foreign
 Multinational Commercial Bank
        Defendants.
                                  /
                      ORDER GRANTING MOTION TO APPEAR
             PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
            ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

          THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for
 STEVEN PERLES, Esquire, Consent to Designation, and Request to Electronically Receive
 Notices of Electronic Filing (the “Motion”), pursuant to the Rules Governing the Admission,
 Practice, Peer Review, and Discipline of Attorneys in the United States District Court for the
 Southern District of Florida and Section 2B of the CM/ECF Administrative Procedures. This Court
 having considered the motion and all other relevant factors, it is hereby
          ORDERED AND ADJUDGED that:
          The Motion is GRANTED STEVEN PERLES, may appear and participate in this action on
 behalf of the Plaintiffs, ARTHUR BARRY SOTLOFF Individually and as the Administrator of the
 Estate of STEVEN JOEL SOTLOFF; SHIRLEY GOLDIE PULWER, and LAUREN SOTLOFF.
 The Clerk shall provide electronic notification of all electronic filings to STEVEN PERLES, Esq.,
 at sperles@perleslaw.com.


          DONE AND ORDERED in Chambers at                                              , Florida, this
 day of                                     .


                                                                         United States District Judge
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 Copies furnished to: All Counsel of Record
